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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of New  York

                         18-[____]
 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Noble Group Limited
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  ✔
                                                             FC035268
                                                        Other ___________________________.                     UK Company Number
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Paul J. Brough
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             Proceeding before the High Court of Justice of England and Wales
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                           ✔
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign                     A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.
                                           ✔
                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  Convening Order and Board Resolutions Appointing Foreign Representative
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign              ✔
                                                 No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                                 Yes




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Debtor          Noble  Group Limited
                _______________________________________________________                                                  18-[____]
                                                                                                  Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        England
                                        ______________________________________________                   Clarendon House, Church Street
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Hamilton HM 11
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         Bermuda
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 11th Floor, 33 Cavendish Square
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Marylebone, London W1 G 0PW
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 United Kingdom
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              http://www.thisisnoble.com/
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:

                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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                                        Exhibit 1

                 Statement Pursuant to Bankruptcy Rule 1007(a)(4)
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James H.M. Sprayregen, P.C.                               Adam C. Paul, P.C. (pro hac vice pending)
Marc Kieselstein, P.C.                                    Catherine Jun (pro hac vice admission pending)
KIRKLAND & ELLIS LLP                                      Gerardo Mijares-Shafai (pro hac vice admission
KIRKLAND & ELLIS INTERNATIONAL LLP                        pending)
601 Lexington Avenue                                      KIRKLAND & ELLIS LLP
New York, New York 10022                                  KIRKLAND & ELLIS INTERNATIONAL LLP
Telephone:     (212) 446-4800                             300 North LaSalle Street
Facsimile:     (212) 446-4900                             Chicago, Illinois 60654
                                                          Telephone:      (312) 862-2000
                                                          Facsimile:      (312) 862-2200

Counsel to the Foreign Representative

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                         §
In re:                                                   § Chapter 15
                                                         §
NOBLE GROUP LIMITED,                                     § Case No. 18-[_____] (___)
                                                         §
                 Debtor in a Foreign Proceeding. 1       §
                                                         §

                STATEMENT PURSUANT TO BANKRUPTCY RULE 1007(a)(4)

         Paul    J.   Brough,    in   his   capacity     as   the   authorized     foreign     representative

(the “Foreign Representative”) of Noble Group Limited (the “Debtor” or “Noble”), which is the

subject of a proceeding under Part 26 of the Companies Act 2006 of England and Wales before

the Chancery Division (Companies Court) of the High Court of Justice of England and Wales

(the “English Proceeding”), hereby submits this statement pursuant to Rule 1007(a)(4) of the

Federal Rules of Bankruptcy Procedure.

         I.      Corporate Ownership Statement (Fed. R. Bankr. P. 7007.1).

         In compliance with the requirements of Bankruptcy Rule 1007(a)(4)(A), the following is

a corporate ownership statement of the Debtor, which identifies any corporation that directly or


1
    The last four digits of Noble Group Limited’s overseas company number are 5268. The mailing address of
    Noble Group Limited’s corporate office is Noble Group Limited, 11th floor, 33 Cavendish Square, Marylebone,
    London W1G 0PW United Kingdom.
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indirectly owns 10 percent or more of any class of the Debtor’s equity interests as of

August 14, 2018:

       •      Noble Holdings Limited: Noble Holdings Limited directly owns 17.9% of Noble’s
              ordinary shares, the Debtor’s only class of equity interests.

      II.        Persons or Bodies Authorized to Administer Foreign Proceedings of the
Debtor.

       In compliance with the requirements of Bankruptcy Rule 1007(a)(4)(B), the Debtor, as

directed by its board of directors, will maintain control of and be authorized to administer the

English Proceedings. Additionally, Patrick Cowley of KPMG Advisory (Hong Kong) Limited,

Michael Robert Pink of KPMG LLP and Michael William Morrison of KPMG Advisory Limited

have been appointed as scheme administrators and, pursuant to the terms of the scheme of

arrangement proposed in the English Proceedings, are authorized to administer the English

Proceedings. The service addresses for the Debtor and scheme administrators, respectively, are

as follows:

       Noble Group Limited
       33 Cavendish Square Marylebone, London W1G 0PW
       United Kingdom
       The Scheme Administrators (Noble Group Limited)

       c/o KPMG Advisory (Hong Kong) Limited
       8th Floor
       Prince’s Building
       10 Chater Road
       Central
       Hong Kong
       Attention: Patrick Cowley, Christopher Ball, Vicky Chan

       III.      Pending Litigation.

       The Debtor is not a party to any litigation in the United States at the time of the

commencement of this chapter 15 case.




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      IV.    Provisional Relief.

      As of the Petition Date, the Debtor is not seeking any provisional relief.

      V.     Additional Foreign Proceedings.

      The Debtor is also involved in a proceeding in Bermuda.

                         [Remainder of page intentionally left blank]




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Dated: October 17, 2018            /s/ Marc Kieselstein, P.C.
New York, New York                 James H.M. Sprayregen, P.C.
                                   Marc Kieselstein, P.C.
                                   KIRKLAND & ELLIS LLP
                                   KIRKLAND & ELLIS INTERNATIONAL LLP
                                   601 Lexington Avenue
                                   New York, New York 10022
                                   Telephone:     (212) 446-4800
                                   Facsimile:     (212) 446-4900
                                   - and -
                                   Adam C. Paul, P.C. (pro hac vice admission pending)
                                   Catherine Jun (pro hac vice admission pending)
                                   Gerardo Mijares-Shafai (pro hac vice admission pending)
                                   KIRKLAND & ELLIS LLP
                                   KIRKLAND & ELLIS INTERNATIONAL LLP
                                   300 North LaSalle Street
                                   Chicago, Illinois 60654
                                   Telephone:     (312) 862-2000
                                   Facsimile:     (312) 862-2200

                                   Counsel to the Foreign Representative




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                                        Exhibit 2

                                 Board Resolutions
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                                   Noble Group Limited
                                     (the “Company”)
                                 (incorporated in Bermuda)

EXTRACT OF MINUTES of a meeting of the Board of Directors of the Company held at
07.30a.m. UK time/2.30 p.m. HK time on Friday 12 October 2018 at the Head Office of Noble
Group Limited, 11th Floor, 33 Cavendish Square, London W1G 0PW, United Kingdom
___________________________________________________________________________


1.    DECLARATION OF INTERESTS

      In accordance with The Companies Act 1981 of Bermuda and the Bye-laws of the
      Company (the “Bye-Laws”), each of the Directors declared their interests (if any) in the
      transactions contemplated below and confirmed that he/she was not prohibited from
      voting or in counting towards the quorum for the Meeting.


2.    SCHEMES OF ARRANGEMENT

      The Company has defaulted on its payment obligations under the 3.625% senior notes
      due 2018, 6.75% senior notes due 2020 and 8.75% senior notes due 2022 issued by the
      Company (collectively, the “Existing Notes”) and the US$2,294,500,000 revolving
      credit facility agreement dated 18 May 2015 (the “RCF Agreement”) between the
      Company as borrower and Madison Pacific Trust Limited as agent.

      To effect an arrangement and compromise in respect of the Existing Notes, the loans
      under the RCF Agreement (the “Existing RCF Loans”) and any other debt, liability or
      obligation of the Company (other than certain excluded liabilities, the “Other Claims”),
      the Company intends to:

      (i)    propose inter-conditional schemes of arrangement (the “Schemes”) to certain
             creditors of the Company under Part 26 of the Companies Act 2006 of England
             (the “English Scheme”) and Section 99 of the Companies Act 1981 of Bermuda
             to the holders of the Existing Notes, Existing RCF Loans and Other Claims
             (together, the “Scheme Creditors”); and

      (ii)   institute the filing of a recognition proceeding (the “Chapter 15 Proceeding”) in
             the United States Bankruptcy Court for the Southern District of New York (the
             “Bankruptcy Court”) for the Company to obtain recognition of the English
             Scheme as foreign main proceedings or, in the alternative, as foreign nonmain
             proceedings under chapter 15 of title 11 of the United States Code.

      In order for the Schemes to become effective:

      (i)    the Schemes must be approved by a simple majority in number representing at
             least three-fourths in value of the claims of Scheme Creditors in each class of
             Scheme Creditors who are present and voting (in person or by proxy) at the
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              meetings convened by the High Court of Justice of England and Wales
              (the “English Court”) and the Supreme Court of Bermuda (the “Bermuda
              Court”) for purposes of considering and, if thought fit, approving the Schemes;
              and

      (ii)    a copy of the order of the English Court and Bermuda Court sanctioning the
              relevant Scheme must be delivered to the relevant companies registrar in England
              and Bermuda, respectively.

      If the Schemes become effective, they will (under the laws of England and Wales and
      Bermuda) be binding on Scheme Creditors.

      The proposed Schemes are part of a broader restructuring which contemplates a corporate
      reorganisation of the assets of the Company and its subsidiaries (the “Group”), a
      restructuring of the Group’s liabilities (including the Existing Notes, Existing RCF Loans
      and Other Claims) and the commitment of new trade and hedging support facilities (the
      “Restructuring”). Among other things, the restructuring envisages:

      (i)     a disposal of substantially all of the assets of the Company to Noble Group
              Holdings Limited (“New Noble”) and a separation of certain assets of the Group
              such that there is an effective ring-fencing of: (i) the legal title to and/or full
              economic benefits of the Asset Co Assets (as defined in the Schemes) within the
              Asset Co Group (as defined in the Schemes and which will be a subsidiary group
              of New Noble); and (ii) the Core Business (as defined in the Schemes) within the
              Trading Co Group (as defined in the Schemes and which will be a subsidiary
              group of New Noble);

      (ii)    a release by the Scheme Creditors of their claims (the “Scheme Claims”) against
              the Company in exchange for a combination of bonds issued by Noble New Asset
              Co Limited (“Asset Co”), Noble Trading Co Limited, Noble Trading Hold Co
              Limited and shares issued by Noble Investors Limited (which will hold 70% of
              the issued and paid up capital of New Noble and 90% of the Preference Shares (as
              defined in the Schemes) of Asset Co), and a release of all residual Scheme
              Claims;

      (iii)   the provision to New Noble of US$800 million in aggregate amount of new
              facilities, comprising:

              (A)    the up to US$600 million trade finance facility to be provided by ING
                     Bank N.V. (“ING”) and Deutsche Bank AG, London Branch (“DB”) in
                     their capacities as fronting banks (the “New Trade Finance Facility”);

              (B)    the up to US$100 million hedging support facility to be provided by DB
                     (the “New Hedging Support Facility”); and



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               (C)    the US$100 million committed trade finance facility to be made available
                      by a consortium of investors (including Value Partners Limited and
                      Pinpoint Asset Management Ltd).

      (iv)     the allocation of 20% and 10% of the issued and paid up capital of New Noble to
               the shareholders of the Company and a special purpose vehicle in which the
               management of the Group will be allocated shares, respectively;

      (v)      the issuance of senior secured bonds by Asset Co to ING which will be redeemed
               in full on the Restructuring Effective Date (as defined in the Schemes) in
               consideration for the release and discharge by ING of all rights to principal and
               accrued interest in respect of the ING Claim (as defined in the Schemes); and

      (vi)     the issuance of the senior secured bonds by Asset Co to DB in consideration for
               the release and discharge by DB of all rights to principal and accrued interest in
               respect of the DB Excluded Existing Senior Claims (as defined in the Schemes).

      In connection with the foregoing:

      (vii)    the Company is required to issue a scheme document to Scheme Creditors
               containing, among other things, an explanatory statement in relation to the
               Schemes and the terms of the Schemes (“Explanatory Statement”);

      (viii)   in the event the Schemes become effective and binding on Scheme Creditors, the
               Company will be required to enter into a number of documents, including inter
               alia, the Core Restructuring Documents (as defined in the Schemes) to which the
               Company is party and any other document contemplated by the Schemes, the
               Core Restructuring Documents and the Explanatory Statement (the “Scheme
               Documents”).


      Drafts of the Core Restructuring Documents and the Explanatory Statement (including
      the Schemes) have been presented to the Directors for their review. The Directors note
      that the drafts are being finalised and that the final document may vary from the relevant
      drafts presented today.

3.    RSA

      It was noted that on 14 March 2018, the Company, Deutsche Bank AG, London Branch
      and an ad hoc group of certain existing senior creditors of the Group entered into the the
      restructuring support agreement (the “RSA”) in respect of the restructuring of the
      financial indebtedness and corporate structure of the Company and its subsidiaries.

      On 28 September 2018, the Company, the Majority Consenting Creditors and DB and
      ING in their capacities as both Bilateral Banks and Fronting Banks (each as defined in

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      the RSA) agreed to amend the definition of “Original Longstop Date” in the RSA to 27
      November 2018.

      Following developments in connection with the proposed Restructuring since 14 March
      2018, the Company has agreed with the relevant parties to the RSA to enter into an
      amendment and restatement agreement in respect of the RSA to reflect such
      developments (the “RSA Amendment & Restatement Agreement”).

4.    CRPA

      It was noted that on 14 March 2018, the Company and an ad hoc group of certain existing
      senior creditors of the Group entered into the conditional risk sub-participation agreement
      (the “CRPA”) pursuant to which the creditors agreed to risk participate in the New Trade
      Finance Facility and New Hedging Support Facility for their respective commitments. On
      9 April 2018, the CRPA was amended in accordance with its terms.

      Following further developments in connection with the proposed Restructuring, the
      Company has agreed with the relevant parties to the CRPA to enter into a further
      amendment of the CRPA pursuant to an amendment and restatement agreement (the
      “CRPA Amendment & Restatement Agreement”).


5.    CHAPTER 15 PROCEEDINGS

      The Company intends to seek recognition of the English Scheme as a “foreign main
      proceeding” or, in the alternative, as a “foreign nonmain proceeding” of the Company
      under Chapter 15 of the U.S. Bankruptcy Code in the Bankruptcy Court.

      Section 101(24) of the Bankruptcy Code defines a “foreign representative” as a “person
      or body. . . authorized in a foreign proceeding to administer the reorganization or the
      liquidation of the debtor’s assets or affairs or to act as a representative of such foreign
      proceeding.”

6.    EXCHANGE OFFER

      It was noted that the Company issued US$350,000,000 in aggregate principal amount of
      perpetual capital securities on 24 June 2014 and an additional US$50,000,000 in
      aggregate principal amount of perpetual capital securities on 10 July 2014 (collectively,
      the “Existing Securities”) pursuant to a trust deed dated 24 June 2014 and supplemented
      on 10 July 2014 (and as may be further amended, supplemented or modified from time to
      time) (the "Existing Trust Deed") between the Company, as issuer, and DB Trustees
      (Hong Kong) Limited (“DB Trustees”), as trustee (the "Existing Trustee").

      It was noted that the Company and New Noble propose to make an offer to the holders of
      the Existing Securities (the "Existing Securities Holders") to exchange (the “Exchange
      Offer”) any and all of their Existing Securities for new perpetual capital securities to be
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      issued by New Noble (the "New Securities") and cancel all Arrears of Distribution and
      any Additional Distribution Amounts (each as defined in the Existing Trust Deed) that
      have accrued or are otherwise due on the Existing Securities.

      In connection with the Exchange Offer, the Company will solicit consents from the
      Existing Securities Holders to (i) certain proposed amendments to the Existing Trust
      Deed (the "Proposed Amendments"), and (ii) vote in favour of certain matters in
      accordance with such Proposed Amendments ((i) and (ii) together, the “Consent
      Solicitation”, and together with the Exchange Offer, the “Offer”), including (a) a
      transfer of all Existing Securities from all Existing Securities Holders to New Noble and
      (b) a waiver and release of, and an agreement not to sue in respect of, any rights or claims
      that each Existing Securities Holder ever had, has or may have against, among others, the
      Company or New Noble arising out of or in connection with the Existing Securities, the
      Existing Trust Deed, the Offer and the Restructuring, in each case, pursuant to an
      extraordinary resolution to be proposed at a meeting of the Existing Securities Holders
      (the "Extraordinary Resolution").

      For this purpose, an exchange offer memorandum and consent solicitation statement will
      be issued and sent to Existing Securities Holders setting out the key aspects of the Offer
      (the “Exchange Offer Memorandum”).

      It was noted that the Company and New Noble are proposing the Offer as part of the
      Company's comprehensive plan to refinance its capital and corporate structure pursuant
      to the Restructuring of the Group substantially in accordance with the RSA.

      It was noted that certain Existing Securities Holders (including Value Partners Limited
      and Pinpoint Asset Management Ltd), who collectively own approximately 42.9% of the
      aggregate principal amount of outstanding Existing Securities, have agreed, pursuant to
      certain support agreements dated 22 June 2018 between the Company and such Existing
      Securities Holders (the "Support Agreements"), to validly tender all of their Existing
      Securities in the Exchange Offer and to vote in favour of the Extraordinary Resolution
      upon the terms and conditions set forth in the Exchange Offer Memorandum.

      It was noted that on 6 September 2018, the Company entered into an engagement letter
      with DB Trustees pursuant to which the Company appointed DB Trustees as the trustee
      for the New Securities (the "DB Engagement Letter"). In addition, it was noted that on
      13 September 2018, the Company entered into an engagement letter with Lucid Issuer
      Services Limited ("Lucid") pursuant to which the Company appointed Lucid as the
      exchange and tabulation agent for the Exchange Offer and holding period trustee for the
      New Securities (the "Lucid Engagement Letter" and together with the DB Engagement
      Letter, the "Engagement Letters").

      It was noted that apart from the Support Agreements and the Engagement Letters, in
      connection with the Offer, the Company will be required to approve and as the case may

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      be, issue and/or enter into certain agreements, instruments, notices or documents
      including (without limitation) any or all of the following:

      (i)     the Exchange Offer Memorandum;

      (ii)    a notice convening a meeting of the Existing Securities Holders to consider the
              Extraordinary Resolution;

      (iii)   an announcement relating to the Offer; and

      (iv)    a supplemental trust deed to the Existing Trust Deed between the Company and
              the Existing Trustee (the “Supplemental Trust Deed”),

      the “Exchange Offer Documents”, and together with the the Scheme Documents, the
      RSA Amendment & Restatement Agreement, the CRPA Amendment & Restatement
      Agreement and any other ancillary documents contemplated thereunder and/or in relation
      to the Offer, the Schemes, the RSA Amendment & Restatement Agreement and the
      CRPA Amendment & Restatement Agreement, the “Documents”.

      It was noted that the purpose of the Meeting was to discuss and, if thought fit, approve
      the entry by the Company into the agreements and deeds necessary to effect the Offer and
      entry into the Documents.

7.    CONFIRMATION AND CONSIDERATION

      Each of the Directors of the Company:

      (a)     has confirmed that the Exchange Offer Memorandum will not contain any untrue
              statement of a material fact or omit to state a material fact necessary in order to
              make the statements therein, in light of the circumstances under which they were
              made, not misleading; and

      (b)     is satisfied that the offer of the New Securities to be issued is not calculated to
              result, directly or indirectly, in shares (as defined in section 25(1) of the
              Companies Act 1981) becoming available to persons other than persons whose
              ordinary business involves the acquisition, disposal or holding of shares (as
              defined in section 25(1) of the Companies Act 1981), whether as principal or
              agent, and that no invitation has been or will be made by or on behalf of the
              Company to the public in Bermuda to subscribe for any of the New Securities.

8.    RESOLUTIONS

      After due and careful consideration, having regard to what would be most likely to
      promote the success of the Company for the benefit of its members as a whole it was
      RESOLVED THAT:
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      (a)    the Offer, the Schemes and the transactions contemplated thereunder are in the
             best interests of the Company, and it is in the interests and for the corporate
             benefit of the Company, and be and are hereby approved;

      (b)    the Documents and transactions contemplated thereunder be and are hereby
             approved;

      (c)    any two Directors of the Company or any Director together with the Group
             General Counsel (Mr. Jeffrey Alam) or the Group Chief Financial Officer (Mr.
             Paul Jackaman) or the Company Secretary (together the “Authorized
             Signatories”) acting jointly, on behalf of the Company, from time to time, be and
             are hereby authorized on behalf of the Company to negotiate, approve, agree and
             finalise any amendments to the Documents as such Authorized Signatories shall
             in their absolute discretion think necessary or desirable and any one Authorized
             Signatory (whether under hand or seal) be authorized and directed to execute,
             initial and/or deliver such Documents on behalf of the Company (save for the
             Officer's Certificate, in which case any two of the Directors be authorized and
             directed to execute the Officer's Certificate), and whose signatures thereto shall be
             conclusive evidence of the Authorized Signatory’s approval to such amendments
             on behalf of the Company and shall be valid, binding and enforceable against the
             Company in the manner executed and delivered as aforesaid;

      (d)    the entry into, execution, delivery and performance of the Documents be and are
             hereby authorized, approved, confirmed and/or ratified and the execution of the
             Support Agreements and Engagement Letters by any one Authorized Signatory
             for and on behalf of the Company be and are hereby approved, confirmed and
             ratified;

      (e)    any one Authorized Signatory acting on behalf of the Company be and is hereby
             authorized and directed to approve and/or finalise the terms of the Offer, the
             Schemes, and/or the Restructuring;

      (f)    any one Authorized Signatory be and is hereby authorized to give, make, execute
             (whether under hand or seal) and deliver such notes, deeds, agreements, letters,
             notices, applications, certificates, instructions and other documents, or do such act
             or thing, as the Authorized Signatory or may in its opinion deem to be necessary
             or desirable for purpose of giving effect to the Offer, the Schemes, and/or the
             Restructuring and any of the Documents or compliance with any condition
             precedent or the coming into effect of or otherwise consummating or completing
             or procuring the performance and completion of the transactions contemplated by
             or referred to in all or any of the Documents, or to comply with any legal or
             regulatory requirements by virtue of the entry into any of the Documents, and
             generally to carry out the full intent and purposes of the foregoing resolutions;

                                               7
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Noble Group Limited
Extract Board Minutes – 12 October 2018 Board Meeting


      (g)    the amendment and restatement agreements in respect of the RSA and CRPA be
             and is hereby approved;

      (h)    the Company is authorised to appoint, for a one-year period beginning as of the
             date hereof, as the Company’s legal foreign representative, Paul Brough,
             Chairman of the Board; or Jeffrey Alam, General Counsel to the Company,
             (whichever so appointed, the “Authorized Representative”). The Authorized
             Representative will have specific powers to individually bind and represent the
             Company with respect to the Schemes, including for the purposes of seeking any
             relief available to a “foreign representative” in the Chapter 15 Proceeding;

      (i)    the Authorized Representative is authorized to act as the Company’s agent in
             seeking any relief available to a “foreign representative” in the Chapter 15
             Proceeding;

      (j)    the Authorized Representative is authorized and empowered to execute and verify
             or certify a petition under Chapter 15 on behalf of, and in the name of, the
             Company, and to cause the same to be filed in the Bankruptcy Court in such form
             or forms as such Authorized Representative may approve;

      (k)    the Authorized Representative is authorized and empowered to retain and employ
             on his own behalf in his capacity as “foreign representative,” at the expense of the
             Company, the law firm of Kirkland and Ellis LLP, in connection with pursuing
             the Chapter 15 Proceeding as the “foreign representative;”

      (l)    the Authorized Representative is authorized to execute and file any and all
             petitions, schedules, motions, lists, applications, pleadings, declarations, and other
             papers, and to take any and all further actions which the Authorized
             Representative or the Company’s legal counsel may deem necessary, proper, or
             desirable in connection with the Chapter 15 Proceeding, with a view to the
             successful resolution of such case;

      (m)    any and all agreements, instruments and other documents whatsoever, and any
             and all actions whatsoever, executed, delivered and/or taken by any one
             Authorized Signatory on behalf of the Company in connection with the subject
             matter of these resolutions be and are hereby approved, ratified and confirmed in
             all respects as the acts and deeds of the Company;

      (n)    the Company Secretary of the Company or any one of the Authorized Signatories
             be authorized to approve and release any announcement, notice or press release
             relating to the Offer and the Chapter 15 Proceeding as may be required; and

      (o)    any of the foregoing matters set out in these resolutions that have been done on or
             before the date hereof be and are hereby adopted, ratified, confirmed and
             approved.
                                               8
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Noble Group Limited
Extract Board Minutes – 12 October 2018 Board Meeting




Certified True Copy




Paul Brough
Chairman
Noble Group Limited
Date: 12 October 2018




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                                    Exhibit 3

                   Certified Convening Order for UK Proceedings
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                                                               CR-2018-008453

IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS
OF ENGLAND AND WALES
COMPANIES COURT (ChD)
Before:

THE HONOURABLE MR JUSTICE SNOWDEN

16 OCTOBER 2018

IN THE MATTER OF NOBLE GROUP LIMITED

AND IN THE MATTER OF THE COMPANIES ACT 2006

                   _________________________________________

                       ORDER TO CONVENE MEETINGS
                   _________________________________________


UPON THE APPLICATION by Part 8 claim form dated 8 October 2018 (the
“Claim Form”) by the Noble Group Limited (the “Company”)

AND UPON HEARING William Trower QC for the Company and David Allison QC
and Stephen Robins for the Ad Hoc Group

AND UPON READING the Claim Form, the First Witness Statement of Paul
Brough dated 9 October 2018, the Second Witness Statement of Paul Brough
dated 14 October 2018, the First Witness Statement of Ben Burger dated 15
October 2018 and the First Witness Statement of Neil Devaney dated 15
October 2018.

AND UPON the Court adopting in this Order, save where terms are otherwise
expressly defined, the definitions contained in the proposed scheme of
arrangement promulgated by the Company pursuant to Part 26 of the
Companies Act 2006 (the “Scheme”) and the draft explanatory statement to be
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made in relation to the Scheme pursuant to section 897 of the Companies Act
2006 (the “Explanatory Statement”)

AND UPON the board of directors of the Company having appointed Paul
Brough or Jeffrey M. Alam to act as the Company’s representative in respect of
the Scheme in any case under Chapter 15 of the U.S. Bankruptcy Code

IT IS ORDERED AND DIRECTED THAT:

1.    The Company is at liberty to convene two meetings of its Scheme
      Creditors (the “Scheme Meetings”) pursuant to Part 26 of the Companies
      Act 2006 for the purpose of considering, and if thought fit, approving
      (with or without modifications) the        Scheme proposed to be made
      between the Company and its Scheme Creditors.             Of these Scheme
      Meetings:

         a. the first Scheme Meeting shall be for all of the Scheme Creditors
            save for Deutsche Bank AG, London Branch (“DB”) (the “Class One
            Meeting”).

         b. the second Scheme Meeting shall be for DB (the “Class Two
            Meeting”).

2.    The Class Two Meeting shall commence at 1:00 p.m. London time on 8
      November 2018 (or such later time or date as the Company may decide).

3.    The Class One Meeting shall commence immediately after the Class Two
      Meeting concludes.

4.    The Scheme Meetings shall be held at the offices of Kirkland & Ellis
      International LLP, 30 St Mary Axe, London, EC3A 8AF (or if such venue is
      not available, such other suitable venue in London as the Company may
      select).
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5.    A copy of the document incorporating the Scheme, the Explanatory
      Statement, the Notice of the Scheme Meetings and the Voting/Proxy Form
      (together, the “Scheme Documentation”):

         a. be provided (via the Information Agent) to all persons whom the
            Company believes are or may be Scheme Creditors by email or post
            (to the extent that the Company holds such contact details) as soon
            as practicable and in any event by 4:30 pm on 17 October 2018;

         b. be available to Scheme Creditors as soon as practicable and in any
            event from 4:30 pm on 17 October 2018 to be inspected upon
            request at the offices of Lucid Issuer Services Limited, Tankerton
            Works, 12 Argyle Walk, London WC1H 8HA, for the attention of
            Sunjeeve Patel and Victor Parzyjagla, between 9.30 am and 5.30
            pm on each Business Day until the conclusion of the Scheme
            Meetings; and

         c. be made available to Scheme Creditors as soon as practicable and
            in any event by 4:30 pm on 17 October 2018 by accessing
            following website: www.lucid-is.com/newnoble.

6.    Until the date of the Scheme Meetings, Scheme Creditors may request
      hard copies of the Scheme Documentation from Kirkland & Ellis
      International LLP (contacts: Kon Asimacopoulos, Matthew Czyzyk and
      Hannah Crawford; email addresses: kon.asimacopoulos@kirkland.com /
      matthew.czyzyk@kirkland.com      /   hannah.crawford@kirkland.com)     and
      when so requested shall be provided with them free of charge.

7.    The Scheme Documentation shall be in the form or substantially in the
      form of the drafts of the same submitted to the First Witness Statement
      of Paul Brough and initialed by the Court for identification purposes,
      together with such further amendments as may be advised by Counsel.
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8.    Unless the Court orders otherwise, the accidental omission to serve any
      Scheme Creditor with notice of the Scheme Meetings or the Voting/Proxy
      Form relating to the Scheme Meetings or the non-receipt of notice of the
      Scheme Meetings or a Voting/Proxy Form relating to the Scheme
      Meetings by a Scheme Creditor shall not invalidate the proceedings at the
      Scheme Meetings.

9.    Scheme Creditors wishing to vote at the Scheme Meetings must:

         a. attend the Scheme Meeting at which it is entitled to vote (with the
            appropriate    documentation     as   provided   in   the   Explanatory
            Statement), and vote in person, or send a proxy to attend with a
            completed form of proxy;

         b. by 5:00 p.m. on 5 November 2018, submit the appropriate
            documentation as provided in the Explanatory Statement and (if
            applicable) a completed form of proxy either:

               i. by electronic mail to projectnewnoble@lucid-is.com; or

               ii. in respect of hard copy forms;

                       1. by first-class post or air mail addressed to Lucid Issuer
                          Services Limited, Tankerton Works, 12 Argyle Walk,
                          London WC1H 8HA, for the attention of Sunjeeve Patel
                          and Victor Parzyjagla (with proof of receipt); or

                       2. arrange for a hard copy form of proxy to be delivered
                          by hand to the Chairman at the Scheme Meeting at
                          which such Scheme Creditor is entitled to vote.

10.   Mr Patrick Cowley or, in his absence, Mr Michael Pink be appointed to act
      as chairman of the Scheme Meeting (the “Chairman”) and be directed to
      report the results of the Scheme Meetings to the Court.
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11.   The Chairman shall:

         a. oversee voting;

         b. have discretion (without prejudice to the generality of paragraph
            11(d) below):

                i. To accept the value of the claim in respect of which a Scheme
                   Creditor seeks to vote, in whole or in part, notwithstanding
                   failure by such Scheme Creditor to comply with the
                   requirements contained in the form of proxy;

               ii. To accept otherwise incomplete or late forms of proxy (but,
                   for the avoidance of doubt, provided that the form of proxy
                   is received before he closes the relevant Scheme Meeting);
                   and

               iii. In the event of a vote being cast by more than one creditor in
                   respect of the same debt, to count only the votes of the
                   person with the ultimate economic interest in that debt.

         c. be at liberty to rely on the electronic confirmations (in respect of
            electronic forms of proxy) or signatures (in respect of hard copy
            forms of proxy) as a warranty that the signatory (or person
            submitting such confirmation) has been duly authorised by the
            relevant Scheme Creditor;

         d. be responsible for, and have discretion to determine, in accordance
            with the relevant provisions in the Explanatory Statement, the
            entitlement of and value for which any Scheme Creditor is
            permitted to vote at the Scheme Meetings;

         e. be at liberty to permit the attendance of persons who are not
            otherwise entitled to attend and vote at the Scheme Meetings
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            provided that such a person shall not be entitled to speak at the
            Scheme Meetings without the permission of the chairman and
            provided that no objection is received from a person entitled to
            attend the relevant Scheme Meeting;

         f. be at liberty to adjourn the Scheme Meetings to the same or
            another place in London, provided that, if adjourned, the Scheme
            Meeting    in   question   recommences      as   soon   as   reasonably
            practicable thereafter; and

         g. have permission to apply for such further directions as he may
            consider necessary or appropriate.

12.   A Scheme Creditor may appoint more than one person as their proxy and,
      if the appointee is not the Chairman, may provide in the appointment
      that the appointee may vote in the appointee’s absolute discretion. Any
      person validly appointed as proxy for a Scheme Creditor may attend and
      speak at the Scheme Meetings.

13.   A representative from Lucid Issuer Services Limited, of appropriate
      seniority, will act as a scrutineer and be responsible for confirming the
      results of the Scheme Meetings and providing the Chairman with a report
      setting out the results of the Scheme Meetings.

14.   The Chairman be required to file a report on the Scheme Meetings and
      the voting by 10.00 a.m. on Friday 9 November 2018 (assuming the
      requisite majority is obtained at the Scheme Meetings).

15.   If the Scheme is approved at the Scheme Meetings by the required
      statutory majority, the Claim Form shall be restored and a further Court
      hearing at which the Company shall seek the sanction of the Court to the
      Scheme shall be listed on Monday 12 November 2018.
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16.   Pursuant to rule 5.4D(2) of the Civil Procedure Rules, at least two clear
      days’ notice shall be given to the Company of any application made by a
      person for permission under rule 5.4C of the Civil Procedure Rules to
      obtain a copy of a document from the court records in this matter.

17.   If and to the extent that the provisions of rule 32.13(2) of the Civil
      Procedure Rules apply in relation to evidence filed in this matter, until
      further order it is directed that the Second Witness Statement of Paul
      Brough dated 14 October 2018 be not open to inspection save with the
      permission of the Court.         Any application to inspect such witness
      statement shall be on at least two clear days’ notice to the Company.

18.   The Claim Form be adjourned for further hearing.

AND IT IS DECLARED that:

19.   Paul Brough or Jeffrey M. Alam (each an “Authorized Representative”)
      have been validly appointed by the board of directors of the Company to
      represent the Company and act as the Company’s agent in seeking any
      relief available to a “foreign representative” under Chapter 15 of the U.S.
      Bankruptcy Code in respect of the Scheme.

20.   The Authorized Representative has been authorised by the Company to
      take any and all actions to execute, deliver, certify, file and/or record and
      perform any and all documents, agreements, instruments, motions,
      affidavits, applications for approvals or rulings of governmental or
      regulatory authorities, or certificates, and to take any and all steps
      deemed by the Authorized Representative to be necessary or desirable to
      carry out the purpose and intent of the Scheme including, for the
      avoidance of doubt, filing any petition for recognition of the Scheme, the
      enforcement of this order and the sanction order (if approved) and any
      other related relief under Chapter 15 of the U.S. Bankruptcy Code, to the
      extent required.
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21.   There be liberty to apply, such application to be made to Mr Justice
      Snowden (if available).

Service of the order

The Court has provided a sealed copy of this order to the serving party;

Kirkland and Ellis LLP, 30 St. Mary Axe, London EC3A 8AF

DATED this 16th day of October 2018
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                                              IN THE HIGH COURT OF JUSTICE

                                            BUSINESS AND PROPERTY COURTS

                                                      OF ENGLAND AND WALES

                                                    CHANCERY DIVISION (ChD)

                                                            COMPANIES COURT

                                                                         Before:

                                    THE HONOURABLE MR JUSTICE SNOWDEN

                                                             16 OCTOBER 2018

                                                            IN THE MATTER OF

                                                        NOBLE GROUP LIMITED

                                                                            AND

                               IN THE MATTER OF THE COMPANIES ACT 2006

                                       ________________________________________
                                              ORDER TO CONVENE MEETINGS
                                       ________________________________________
